                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )               Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )          Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )          STIPULATION OF SETTLEMENT
      vs.                                   )
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )



          This Stipulation of Settlement, dated June 24, 2021 (the “Stipulation”), is made and entered

into by and among: (i) Plaintiff Amalgamated Bank, as Trustee for the LongView Collective

Investment Fund (“Plaintiff” or “Amalgamated”) (on behalf of itself and each Class Member), by

and through its counsel of record in the Litigation; and (ii) Defendants Corrections Corporation of

America, Inc. n/k/a CoreCivic, Inc. (“CCA” or the “Company”), Damon T. Hininger, David M.

Garfinkle, Todd J. Mullenger, and Harley G. Lappin (“Individual Defendants”), by and through their

counsel of record in the Litigation.1 The Stipulation is intended to fully, finally, and forever resolve,

discharge, and settle the Litigation and the Released Claims, subject to the approval of the Court and

the terms and conditions set forth in this Stipulation.

I.        THE LITIGATION

          The Litigation is currently pending before the Honorable Aleta A. Trauger in the United

States District Court for the Middle District of Tennessee (the “Court”). The initial complaint in this




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          All capitalized terms not otherwise defined shall have the meanings ascribed to them in §IV.1
herein.



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action was filed on August 23, 2016. On January 10, 2017, the Court appointed Plaintiff as Lead

Plaintiff and appointed Lead Counsel.

       Plaintiff’s Consolidated Complaint for Violation of the Federal Securities Laws (the

“Complaint”), filed on March 13, 2017, alleges that Defendants violated §§10(b) and 20(a) of the

Securities Exchange Act of 1934. More specifically, Plaintiff alleges that throughout the Class

Period (February 27, 2012 through August 17, 2016, inclusive), Defendants engaged in a scheme to

defraud and made materially false and misleading statements and/or failed to disclose adverse

information regarding the Company’s business and operations, which caused the price of the

Company’s securities to trade at artificially inflated prices, until the circumstances concealed by the

alleged fraud were revealed, and the Company’s stock price significantly declined. Defendants deny

each and all of Plaintiff’s allegations. Defendants contend that they did not engage in a scheme to

defraud, did not make any false or misleading statements, that they disclosed all information

required to be disclosed by the federal securities laws, that the price of the Company’s securities

were not artificially inflated, and that no damage to the Company’s stock price resulted from

Defendants’ alleged wrongdoing.

       Defendants moved to dismiss the Complaint on May 12, 2017. Plaintiff opposed the motion

on June 26, 2017, and Defendants filed their reply on July 26, 2017. On December 18, 2017, the

Court denied the motion in its entirety.

       On June 1, 2018, Plaintiff moved for class certification. Following the taking of discovery of

Plaintiff, Defendants filed their opposition on July 16, 2018, and Plaintiff filed its reply on October

26, 2018. On January 18, 2019, the Court denied Plaintiff’s motion. Plaintiff filed a motion for

reconsideration on February 1, 2019, and Defendants filed their opposition on February 15, 2019.

Plaintiff filed its reply on February 22, 2019, and on March 26, 2019, the Court granted Plaintiff’s




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motion for reconsideration and certified the class. On August 23, 2019, the Sixth Circuit Court of

Appeals denied Defendants’ Rule 23(f) petition for leave to appeal the Court’s class certification

order. In June 2020, notice of the pendency of the Litigation was provided to the Class.

        The parties conducted extensive fact and expert discovery and litigated a number of

discovery disputes. In all, Defendants and third parties produced over 3.7 million pages of

documents, and the parties took more than 35 fact and expert depositions.

        On November 20, 2020, the parties cross moved for summary judgment and moved to

exclude various experts. Oppositions were filed on January 22, 2021, and reply briefs were filed on

February 19, 2021. On March 17, 2021, the Court granted in part and denied in part one of

Plaintiff’s and one of Defendants’ motions to exclude experts, and denied the remainder. On March

23, 2021, the Court granted in part and denied in part the respective summary judgment motions.

        On March 19, 2021, the Court set May 10, 2021 as the first date of trial, and the parties

continued their trial preparation in anticipation of the jury trial.

        On February 28, 2019, the Settling Parties participated in a voluntary confidential mediation

with Gregory Lindstrom, Esq. of Phillips ADR, an experienced mediator. The mediation was

preceded by submission of mediation statements by the Settling Parties. The Settling Parties

engaged in good faith negotiations, but did not reach a settlement. On May 31, 2019, Defendants

and Plaintiff participated in another in-person mediation session with Mr. Lindstrom. Prior to this

session, the Settling Parties provided to Mr. Lindstrom and exchanged supplemental mediation

materials. The Settling Parties engaged in arm’s-length negotiations during the mediation session,

but were unable to reach an agreement. Following the second in-person mediation, the Settling

Parties continued settlement discussions through Mr. Lindstrom and Hon. Layn R. Phillips (Ret.).

On April 15, 2021, the Settling Parties accepted the mediator’s proposal to resolve the Litigation,




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and on May 19, 2021, executed a Settlement Agreement memorializing their agreement. The

agreement included, among other things, the Settling Parties’ agreement to settle the Litigation in

return for a cash payment of $56,000,000 for the benefit of the Class, subject to the negotiation of

the terms of a Stipulation of Settlement and approval by the Court. This Stipulation (together with

the Exhibits hereto) reflects the final and binding agreement between the Settling Parties.

II.    DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY

       Throughout this Litigation, Defendants have denied, and continue to deny, any and all of the

claims alleged in the Litigation, including any allegations of fault, liability, wrongdoing, or damages

whatsoever. Defendants expressly have denied, and continue to deny, that they have committed any

act or made any materially misleading statement giving rise to any liability under §§10(b) and 20(a)

of the Securities Exchange Act of 1934. Specifically, Defendants expressly have denied, and

continue to deny, that they have committed or intended to commit any wrongdoing or violations of

law as alleged in any complaint in the Litigation, and maintain that their conduct was at all times

proper and in compliance with applicable provisions of law. Defendants also have denied, and

continue to deny, that they engaged in a scheme to defraud, made any material misstatement or

omission, that the prices of CCA securities were artificially inflated as a result, that they acted with

the requisite state of mind, that any Class Member, including Plaintiff, has suffered any damages, or

that any Class Member, including Plaintiff, was harmed by any conduct alleged in the Litigation or

that could have been alleged therein. Defendants maintain that they have meritorious defenses to all

claims alleged in the Litigation.

       As set forth below, neither the Settlement nor any of the terms of this Stipulation shall be

construed or deemed to be evidence of or constitute an admission, concession, or finding of any

fault, liability, wrongdoing, or damage whatsoever or any infirmity in the defenses that Defendants

have, or could have, asserted. Defendants are entering into this Stipulation solely to eliminate the



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burden, expense, and uncertainty of further litigation. Defendants have determined that it is

desirable and beneficial to them that the Litigation be settled in the manner and upon the terms and

conditions set forth in this Stipulation.

III.    PLAINTIFF’S CLAIMS AND THE BENEFITS OF SETTLEMENT

        Plaintiff and Class Counsel believe that the claims asserted in the Litigation have merit and

that the evidence developed to date supports the claims asserted therein. However, Plaintiff and

Class Counsel recognize and acknowledge the expense and length of continued proceedings

necessary to prosecute the Litigation through trial and through appeals. Plaintiff and Class Counsel

also have taken into account the uncertain outcome and the risk of any litigation, especially in

complex actions such as this Litigation, as well as the difficulties and delays inherent in this

Litigation. Plaintiff and Class Counsel also are mindful of the inherent problems of proof under and

possible defenses to the securities law violations asserted in the Litigation. Plaintiff and Class

Counsel believe that the Settlement set forth in this Stipulation confers substantial benefits upon the

Class. Based on their own investigation and evaluation, Plaintiff and Class Counsel have determined

that the Settlement set forth in this Stipulation is in the best interests of Plaintiff and the Class.

IV.     TERMS OF THE STIPULATION AND AGREEMENT OF SETTLEMENT

        NOW, THEREFORE, without any concession by Plaintiff that the Litigation lacks merit, and

without any concession by the Defendants of any liability, wrongdoing, fault, or lack of merit in the

defenses asserted, IT IS HEREBY STIPULATED AND AGREED by and among Plaintiff (on

behalf of itself and the Class Members) and Defendants, by and through their counsel that, subject to

the approval of the Court pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, in

consideration of the benefits flowing to the parties from the Settlement, the Litigation and the

Released Claims shall be finally, fully, and forever compromised, settled, and released, and the




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Litigation shall be dismissed with prejudice upon and subject to the terms and conditions of this

Stipulation, as follows:

       1.      Definitions

       As used in this Stipulation the following terms, when capitalized, have the meanings

specified below:

       1.1     “Authorized Claimant” means any Class Member who submits a valid Claim to the

Claims Administrator that is accepted for payment pursuant to the Court-approved Plan of

Allocation.

       1.2     “Claim(s)” means a paper claim submitted on a Proof of Claim and Release form or

an electronic claim that is submitted to the Claims Administrator.

       1.3     “Claims Administrator” means the firm of Gilardi & Co. LLC.

       1.4     “Class” means all Persons who purchased or otherwise acquired CCA (n/k/a

CoreCivic) securities during the Class Period, and were damaged thereby. Excluded from the Class

are: (a) CCA/CoreCivic; (b) Damon T. Hininger, David M. Garfinkle, Todd J. Mullenger, and

Harley G. Lappin; (c) all other executive officers and directors of CCA/CoreCivic or any of its

parents, subsidiaries or other entities owned or controlled by CCA/CoreCivic during the Class

Period; (d) all immediate family members of the foregoing, including grandparents, parents, spouses,

siblings, children, grandchildren and step relations of similar degree; and (e) all predecessors and

successors in interest or assigns of any of the foregoing. Also excluded from the Class is any Person

who would otherwise be a Member of the Class but who validly and timely requests exclusion in

accordance with the requirements set by the Court.

       1.5     “Class Counsel” means the law firm of Robbins Geller Rudman & Dowd LLP.

       1.6     “Class Member” or “Member of the Class” mean a Person who falls within the

definition of the Class as set forth in ¶1.4 above.



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       1.7      “Class Period” means the period from February 27, 2012 through August 17, 2016,

inclusive.

       1.8      “Defendants” means, collectively, CCA/CoreCivic and the Individual Defendants.

       1.9      “Defendants’ Counsel” means Riley Warnock & Jacobson, PLC and Latham &

Watkins LLP.

       1.10     “Effective Date,” or the date upon which this Settlement becomes “Effective,” means

the first date by which all of the events and conditions specified in ¶7.1 of the Stipulation have been

met and have occurred or have been waived.

       1.11     “Escrow Agent” means the law firm of Robbins Geller Rudman & Dowd LLP or its

successor(s).

       1.12     “Final” means, with respect to any order or Judgment of the Court, that such order or

Judgment represents a final and binding determination of all issues within its scope and has not been

reversed, vacated, or modified in any way and is no longer subject to appellate review, either

because of disposition on appeal and conclusion of the appellate process or because of passage,

without action, of time for seeking appellate review. Without limitation, an order or Judgment

becomes final when: (a) either no appeal therefrom has been filed and the time has passed for any

notice of appeal to be timely filed therefrom; or (b) an appeal has been filed and either (i) the court

of appeals has either affirmed the order or Judgment or dismissed that appeal and the time for any

reconsideration or further appellate review has passed; or (ii) a higher court has granted further

appellate review and that court has either affirmed the underlying order or judgment or affirmed the

court of appeals’ decision affirming the judgment or dismissing the appeal. For purposes of this

paragraph, an “appeal” shall include any motion for reconsideration or petition for a writ of

certiorari or other writ that may be filed in connection with approval or disapproval of this




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Settlement. Any appeal or proceeding seeking subsequent judicial review pertaining solely to an

order issued with respect to: (i) attorneys’ fees, costs, or expenses, (ii) the Plan of Allocation (as

submitted or subsequently modified), or (iii) the procedures for determining Authorized Claimants’

recognized Claims, shall not in any way delay, affect, or preclude the time set forth above for the

Judgment to become Final, or otherwise preclude the Judgment from becoming Final.

        1.13    “Judgment” means the Final Judgment and Order of Dismissal with Prejudice to be

rendered by the Court, substantially in the form attached hereto as Exhibit B, as well as any form of

final judgment that may be entered by the Court in a form other than the form attached hereto as

Exhibit B and where none of the Settling Parties elects to terminate this Settlement by reason of such

variance, consistent with the terms of this Stipulation.

        1.14    “Litigation” means the action captioned Grae v. Corrections Corporation of America,

et al., Civil Action No. 3:16-cv-02267, pending in the United States District Court for the Middle

District of Tennessee.

        1.15    “Local Counsel” means Barrett Johnston Martin & Garrison, LLC.

        1.16    “Net Settlement Fund” means the Settlement Fund less: (i) any Court-awarded

attorneys’ fees, expenses, and interest thereon; (ii) Notice and Administration Expenses; (iii) Taxes

and Tax Expenses; and (iv) other Court-approved deductions.

        1.17    “Person(s)” means an individual, corporation (including all divisions and

subsidiaries), limited liability corporation, professional corporation, partnership, limited partnership,

limited liability partnership, limited liability company, joint venture, association, joint stock

company, estate, legal representative, trust, unincorporated association, government or any political

subdivision or agency thereof, and any business or legal entity and all of their respective spouses,




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heirs, beneficiaries, executors, administrators, predecessors, successors, representatives, or

assignees.

        1.18    “Plaintiff” means Amalgamated Bank, as Trustee for the LongView Collective

Investment Fund.

        1.19    “Plaintiff’s Counsel” means any attorney or firm who has appeared in the Litigation

on behalf of Plaintiff or the Class.

        1.20    “Plan of Allocation” means a plan or formula of allocation of the Net Settlement

Fund whereby the Net Settlement Fund shall be distributed to Authorized Claimants. Any Plan of

Allocation is not part of this Stipulation and neither Defendants nor their Related Parties shall have

any responsibility or liability with respect thereto.

        1.21    “Proof of Claim and Release” means the Proof of Claim and Release form for

submitting a Claim, which, subject to approval of the Court, shall be substantially in the form

attached hereto as Exhibit A-2, that a Class Member must complete and submit should that Class

Member seek to share in a distribution of the Net Settlement Fund.

        1.22    “Related Parties” means each Defendant’s respective former, present or future

parents, subsidiaries, divisions, controlling persons, associates, related entities and affiliates and each

and all of their respective present and former employees, members, partners, principals, officers,

directors, controlling shareholders, agents, attorneys, advisors (including financial or investment

advisors), accountants, auditors, consultants, underwriters, investment bankers, commercial bankers,

entities providing fairness opinions, general or limited partners or partnerships, limited liability

companies, members, joint ventures and insurers and reinsurers of each of them; and the

predecessors, successors, estates, immediate family members, spouses, heirs, executors, trusts,




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trustees, administrators, agents, legal or personal representatives, assigns, and assignees of each of

them, in their capacity as such.

        1.23    “Released Claims” means any and all claims and causes of action of every nature and

description, whether known or unknown, asserted or unasserted, accrued or unaccrued, fixed or

contingent, liquidated or unliquidated, whether arising under federal, state, common, or foreign law

or any other law, rule or regulation, whether class or individual in nature, arising out of, relating to

or in connection with both: (i) the purchase and/or acquisition of CCA securities during the Class

Period; and (ii) the facts, matters, events, transactions, acts, occurrences, statements, representations,

misrepresentations and/or omissions that were or could have been alleged in the Litigation.

“Released Claims” does not include claims to enforce the Settlement, or the claims of any person or

entity that submits a request for exclusion that is accepted by the Court. “Released Claims” includes

“Unknown Claims” as defined in ¶1.33 hereof.

        1.24    “Released Defendants’ Claims” means any and all claims and causes of action of

every nature and description whatsoever, including both known claims and Unknown Claims,

against Plaintiff, Plaintiff’s Counsel or any Class Member that arise out of or relate in any way to the

institution, prosecution, or settlement of the claims against Defendants in the Litigation, except for

claims relating to the enforcement of the Settlement.

        1.25    “Released Defendant Party” or “Released Defendant Parties” or “Released Persons”

mean Defendants, Defendants’ Counsel and their Related Parties.

        1.26    “Releasing Plaintiff Party” or “Releasing Plaintiff Parties” mean each and every Class

Member, Plaintiff, Class Counsel, Plaintiff’s Counsel, and each of their respective past or present

trustees, executors, administrators, officers, directors, partners, members, employees, contractors,

auditors, principals, agents, attorneys, predecessors, successors, assigns, representatives, affiliates,




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joint venturers, shareholders, underwriters, insurers, personal or legal representatives, estates,

financial advisors or consultants, banks or investment bankers, parents, subsidiaries, general or

limited partners or partnerships, and limited liability companies; and the spouses, members of the

immediate families, representatives, and heirs of any Releasing Plaintiff Party who is an individual,

as well as any trust of which any Releasing Plaintiff Party is the settlor or which is for the benefit of

any of their immediate family members. Releasing Plaintiff Parties do not include any Person who

would otherwise be a Member of the Class but who validly and timely requests exclusion from the

Class.

         1.27   “Settlement” means the resolution of the Litigation in accordance with the terms and

provisions of this Stipulation.

         1.28   “Settlement Amount” means Fifty-Six Million U.S. Dollars (U.S. $56,000,000.00) to

be paid by check or wire transfer to the Escrow Agent pursuant to ¶2.2 of this Stipulation.

         1.29   “Settlement Fund” means the Settlement Amount plus all interest and accretions

thereto.

         1.30   “Settlement Hearing” means the hearing set by the Court under Rule 23(e)(2) of the

Federal Rules of Civil Procedure to consider final approval of the Settlement.

         1.31   “Settling Parties” means, collectively, Defendants and Plaintiff, on behalf of itself and

the Class.

         1.32   “Tax” or “Taxes” mean any and all taxes, fees, levies, duties, tariffs, imposts, and

other charges of any kind (together with any and all interest, penalties, additions to tax and

additional amounts imposed with respect thereto) imposed by any governmental authority, including,

but not limited to, any local, state, and federal taxes.




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        1.33    “Unknown Claims” means (a) any and all Released Claims which any of the

Releasing Plaintiff Parties do not know or suspect to exist in his, her, or its favor at the time of the

release of the Released Defendant Parties, which, if known by him, her, or it, might have affected

his, her, or its settlement with and release of the Released Defendant Parties, or might have affected

his, her, or its decision(s) with respect to the Settlement, including, but not limited to, whether or not

to object to this Settlement or seek exclusion from the Class; and (b) any and all Released

Defendants’ Claims that any of the Released Defendant Parties do not know or suspect to exist in

his, her, or its favor at the time of the release of Plaintiff, the Class and Plaintiff’s Counsel, which, if

known by him, her, or it, might have affected his, her, or its settlement and release of Plaintiff, the

Class and Plaintiff’s Counsel. With respect to (a) any and all Released Claims against the Released

Defendant Parties, and (b) any and all Released Defendants’ Claims against Plaintiff, the Class and

Plaintiff’s Counsel, the Settling Parties stipulate and agree that, upon the Effective Date, the Settling

Parties shall expressly waive, and each Releasing Plaintiff Party and Released Defendant Party shall

be deemed to have, and by operation of the Judgment shall have expressly waived, the provisions,

rights, and benefits of California Civil Code §1542, which provides:

                A general release does not extend to claims that the creditor or releasing party
        does not know or suspect to exist in his or her favor at the time of executing the
        release and that, if known by him or her, would have materially affected his or her
        settlement with the debtor or released party.

The Settling Parties shall expressly waive, and each Releasing Plaintiff Party and Released

Defendant Party shall be deemed to have, and by operation of the Judgment shall have, expressly

waived any and all provisions, rights, and benefits conferred by any law of any state or territory of

the United States, or principle of common law, which is similar, comparable, or equivalent to

California Civil Code §1542. The Releasing Plaintiff Parties and Released Defendant Parties

acknowledge that they may hereafter discover facts, legal theories or authorities in addition to or




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different from those which he, she, it or their counsel now knows or believes to be true with respect

to the subject matter of the Released Claims or Released Defendants’ Claims, but (a) the Releasing

Plaintiff Parties shall expressly fully, finally, and forever waive, compromise, settle, discharge,

extinguish and release, and each Releasing Plaintiff Party shall be deemed to have waived,

compromised, settled, discharged, extinguished, and released, and upon the Effective Date, and by

operation of the Judgment shall have waived, compromised, settled, discharged, extinguished, and

released, fully, finally, and forever, any and all Released Claims against the Released Defendant

Parties, known or unknown, suspected or unsuspected, contingent or non-contingent, accrued or

unaccrued, whether or not concealed or hidden, which now exist, or heretofore have existed, or may

hereafter exist, upon any theory of law or equity now existing or coming into existence in the future,

including, but not limited to, conduct which is negligent, intentional, with or without malice, or a

breach of any duty, law or rule, without regard to the subsequent discovery or existence of such

different or additional facts, legal theories, or authorities, and (b) the Released Defendant Parties

shall expressly fully, finally, and forever waive, compromise, settle, discharge, extinguish and

release, and each Released Defendant Party shall be deemed to have waived, compromised, settled,

discharged, extinguished, and released, and upon the Effective Date, and by operation of the

Judgment shall have waived, compromised, settled, discharged, extinguished, and released, fully,

finally, and forever, any and all Released Defendants’ Claims against Plaintiff, the Class and

Plaintiff’s Counsel, known or unknown, suspected or unsuspected, contingent or non-contingent,

whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of

law or equity now existing or coming into existence in the future, including, but not limited to,

conduct which is negligent, intentional, with or without malice, or a breach of any duty, law or rule,

without regard to the subsequent discovery or existence of such different or additional facts, legal




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theories, or authorities. The Settling Parties acknowledge, and the Releasing Plaintiff Parties and

Released Defendant Parties shall be deemed by operation of the Judgment to have acknowledged,

that the foregoing waiver was separately bargained for and is an essential element of the Settlement

of which this release is a part.

        2.      The Settlement

        2.1     The obligations incurred pursuant to the Stipulation are: (a) subject to approval by the

Court and the Judgment, reflecting such approval, becoming Final; and (b) in full and final

disposition of the Litigation and any and all Released Claims and Released Defendants’ Claims upon

and subject to the terms and conditions set forth herein.

                a.      The Settlement Amount

        2.2     In full and final settlement of the claims asserted in the Litigation and in

consideration of the releases specified in ¶¶4.1-4.4 herein, Defendants paid the Settlement Amount

by wire transfer on May 24, 2021.

        2.3     Other than the obligation to pay or cause to be paid the Settlement Amount into the

Settlement Fund set forth in ¶2.2 herein, the Released Defendant Parties shall have no responsibility

for, interest in, or liability whatsoever with respect to: (i) any act, omission, or determination by

Class Counsel or the Claims Administrator, or any of their respective designees, in connection with

the administration of the Settlement or otherwise; (ii) the management, investment, or distribution of

the Settlement Fund; (iii) the Plan of Allocation; (iv) the determination, administration, calculation,

or payment of any Claims asserted against the Settlement Fund; (v) any loss suffered by, or

fluctuation in value of, the Settlement Fund; or (vi) the payment or withholding of any Taxes,

expenses, and/or costs incurred in connection with the taxation of the Settlement Fund, distributions

or other payments from the Escrow Account, or the filing of any federal, state, or local returns.




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        2.4     Other than the obligation to cause the payment of the Settlement Amount in

accordance with the terms of ¶2.2, Defendants shall have no obligation to make any other payments

pursuant to the Stipulation.

                b.      The Escrow Agent

        2.5     The Escrow Agent shall invest the Settlement Amount deposited pursuant to ¶2.2

hereof in United States Agency or Treasury Securities or other instruments backed by the Full Faith

& Credit of the United States Government or an Agency thereof, or fully insured by the United

States Government or an Agency thereof and shall reinvest the proceeds of these instruments as they

mature in similar instruments at their then-current market rates. All risks related to the investment of

the Settlement Fund in accordance with the investment guidelines set forth in this paragraph shall be

borne by the Settlement Fund, and the Released Defendant Parties shall have no responsibility for,

interest in, or liability whatsoever with respect to investment decisions or the actions of the Escrow

Agent, or any transactions executed by the Escrow Agent. The Escrow Agent, through the

Settlement Fund, shall indemnify and hold each of the Released Defendant Parties and their counsel

harmless for the actions of the Escrow Agent.

        2.6     The Escrow Agent shall not disburse the Settlement Fund except as provided in this

Stipulation, by an order of the Court, or with the prior written agreement of Defendants’ Counsel.

        2.7     Subject to further order(s) and/or directions as may be made by the Court, or as

provided in this Stipulation, the Escrow Agent is authorized to execute such transactions as are

consistent with the terms of this Stipulation. The Released Defendant Parties shall have no

responsibility for, interest in, or liability whatsoever with respect to the actions of the Escrow Agent,

or any transaction executed by the Escrow Agent. The Escrow Agent, through the Settlement Fund,

shall indemnify and hold each of the Released Defendant Parties and their counsel harmless for any

transaction executed by the Escrow Agent.



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       2.8     All funds held by the Escrow Agent shall be deemed and considered to be in custodia

legis of the Court, and shall remain subject to the jurisdiction of the Court, until such time as such

funds shall be distributed pursuant to this Stipulation and/or further order(s) of the Court.

       2.9     Notwithstanding the fact that the Effective Date of the Settlement has not yet

occurred, Class Counsel may pay from the Settlement Fund, without further approval from

Defendants and/or order of the Court, reasonable costs and expenses actually incurred in connection

with providing notice of the Settlement by mail, publication, and other means, locating potential

Class Members, assisting with the submission of Claims, processing Proof of Claim and Release

forms, administering the Settlement, and paying escrow taxes, fees and costs, if any (“Notice and

Administration Expenses”), up to the sum of $500,000.00. Prior to the Effective Date, all such

Notice and Administration Expenses in excess of $500,000.00 shall be paid from the Settlement

Fund subject to prior approval of the Court. After the Effective Date, Notice and Administration

Expenses may be paid as incurred, without approval of Defendants or further order of the Court.

       2.10    It shall be Class Counsel’s responsibility to disseminate the Notice, Proof of Claim

and Release, and Summary Notice to potential Class Members in accordance with this Stipulation

and as ordered by the Court. The Released Defendant Parties shall have no responsibility for or

liability whatsoever with respect to the Notice and Administration Expenses, nor shall they have any

responsibility or liability whatsoever for any claims with respect thereto. The Escrow Agent through

the Settlement Fund, shall indemnify and hold each of the Released Defendant Parties and their

counsel harmless for any Notice and Administration Expenses.

               c.      Taxes

       2.11    The Settling Parties agree as follows:

               (a)     The Settling Parties and the Escrow Agent agree to treat the Settlement Fund

as being at all times a “qualified settlement fund” within the meaning of Treas. Reg. §1.468B-1, and



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the regulations promulgated thereunder. The Settling Parties and the Escrow Agent further agree

that the Settlement Fund shall be established pursuant to the Court’s subject matter jurisdiction

within the meaning of Treas. Reg. §1.468B-1(c)(1). In addition, the Escrow Agent shall timely

make such elections as necessary or advisable to carry out the provisions of this ¶2.11, including the

“relation-back election” (as defined in Treas. Reg. §1.468B-1) back to the earliest permitted date.

Such elections shall be made in compliance with the procedures and requirements contained in such

regulations. It shall be the responsibility of the Escrow Agent to timely and properly prepare and

deliver the necessary documentation for signature by all necessary parties, and thereafter to cause the

appropriate filing to occur.

               (b)     For the purpose of §1.468B of the Internal Revenue Code of 1986, as

amended, and the regulations promulgated thereunder, the “administrator” (as defined in Treas. Reg.

§1.468B-2(k)(3)) shall be the Escrow Agent. The Escrow Agent shall timely and properly file all

informational and other federal, state, or local tax returns necessary or advisable with respect to the

earnings on the Settlement Fund (including, without limitation, the returns described in Treas. Reg.

§1.468B-2(k)). Such returns (as well as the elections described in ¶2.11(a) hereof) shall be

consistent with this ¶2.11 and in all events shall reflect that all Taxes (including any estimated

Taxes, interest, or penalties) on the income earned by the Settlement Fund shall be paid out of the

Settlement Fund as provided in ¶2.11(c) hereof.

               (c)     All (i) Taxes (including any estimated Taxes, interest, or penalties) arising

with respect to the income earned by the Settlement Fund, including any Taxes or tax detriments that

may be imposed upon the Released Defendant Parties or their counsel with respect to any income

earned by the Settlement Fund for any period, after the deposit of the Settlement Amount, during

which the Settlement Fund does not qualify as a “qualified settlement fund” for federal or state




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income tax purposes, and (ii) expenses and costs incurred in connection with the operation and

implementation of this ¶2.11 (including, without limitation, expenses of tax attorneys and/or

accountants and mailing and distribution costs and expenses relating to filing (or failing to file) the

returns described in this ¶2.11) (“Tax Expenses”), shall be paid out of the Settlement Fund; in all

events, the Released Defendant Parties and their counsel shall have no liability or responsibility

whatsoever for the Taxes or the Tax Expenses. The Escrow Agent, through the Settlement Fund,

shall indemnify and hold each of the Released Defendant Parties and their counsel harmless for

Taxes and Tax Expenses (including, without limitation, Taxes payable by reason of any such

indemnification). Further, Taxes and Tax Expenses shall be treated as, and considered to be, a cost

of administration of the Settlement Fund and shall be timely paid by the Escrow Agent out of the

Settlement Fund without prior order from the Court and the Escrow Agent shall be authorized

(notwithstanding anything herein to the contrary) to withhold from distribution to Authorized

Claimants any funds necessary to pay such amounts, including the establishment of adequate

reserves for any Taxes and Tax Expenses (as well as any amounts that may be required to be

withheld under Treas. Reg. §1.468B-2(l)(2)); neither the Released Defendant Parties nor their

counsel are responsible nor shall they have any liability for any Taxes or Tax Expenses. The

Settling Parties hereto agree to cooperate with the Escrow Agent, each other, and their tax attorneys

and accountants to the extent reasonably necessary to carry out the provisions of this ¶2.11.

       2.12    This is not a claims-made settlement. As of the Effective Date, the Released

Defendant Parties, and/or any other Person funding the Settlement on their behalf, shall not have any

right to the return of the Settlement Fund or any portion thereof for any reason, and shall not have

liability should Claims made exceed the amount available in the Settlement Fund for payment of

such Claims. The Released Defendant Parties shall not be liable for the loss of any portion of the




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Settlement Fund, nor have any liability, obligation, or responsibility for the payment of Claims,

Taxes, legal fees, or any other expenses payable from the Settlement Fund.

               d.      Termination of Settlement

       2.13    In the event that this Stipulation is not approved or the Settlement is not approved, or

is terminated, canceled, or the Effective Date otherwise fails to occur for any reason, including,

without limitation, in the event the Judgment is reversed or vacated or altered following any appeal

taken therefrom, or is successfully collaterally attacked, the Settlement Fund less Notice and

Administration Expenses or Taxes or Tax Expenses paid, incurred, or due and owing pursuant to

¶¶2.9 and 2.11 hereof in connection with the Settlement provided for herein, shall be refunded

pursuant to written instructions from Defendants’ Counsel in accordance with ¶7.4 herein.

       3.      Preliminary Approval Order and Settlement Hearing

       3.1     Immediately following execution of this Stipulation, Class Counsel shall submit this

Stipulation together with its Exhibits to the Court and shall apply for entry of an order (the

“Preliminary Approval Order”), substantially in the form of Exhibit A attached hereto, requesting,

inter alia, the preliminary approval of the Settlement set forth in this Stipulation, and approval for

the mailing of a settlement notice (the “Notice”) and publication of a summary notice (“Summary

Notice”), substantially in the forms of Exhibits A-1 and A-3 attached hereto. The Notice shall

include the general terms of the Settlement set forth in this Stipulation, the proposed Plan of

Allocation, the general terms of the Fee and Expense Application, as defined in ¶6.1 hereof, and the

date of the Settlement Hearing, as defined below.

       3.2     It shall be solely Class Counsel’s responsibility to disseminate the Notice and

Summary Notice to the Class in accordance with this Stipulation and as ordered by the Court. Class

Members shall have no recourse as to the Released Defendant Parties with respect to any claims they

may have that arise from any failure of the notice process.



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       3.3     Class Counsel shall request that, after notice is given and not earlier than ninety (90)

calendar days after the later of the dates on which the appropriate Federal official and the appropriate

State officials are provided with notice pursuant to the Class Action Fairness Act of 2005, 28 U.S.C.

§1715 et seq. (“CAFA”), the Court hold a hearing (the “Settlement Hearing”) and approve the

Settlement of the Litigation as set forth herein. At or after the Settlement Hearing, Class Counsel

also will request that the Court approve the proposed Plan of Allocation and the Fee and Expense

Application.

       4.      Releases

       4.1     Upon the Effective Date, as defined in ¶1.10 hereof, Plaintiff shall, and each and

every Releasing Plaintiff Party shall be deemed to have, and by operation of the Judgment shall

have, fully, finally, and forever waived, released, relinquished, discharged, and dismissed each and

every one of the Released Claims against each and every one of the Released Defendant Parties and

shall forever be barred and enjoined from commencing, instituting, prosecuting, or maintaining any

and all of the Released Claims against any and all of the Released Defendant Parties, whether or not

such Releasing Plaintiff Party executes and delivers the Proof of Claim and Release or shares in the

Net Settlement Fund. Claims to enforce the terms of this Stipulation are not released.

       4.2     Any Proof of Claim and Release that is executed by Class Members shall release all

Released Claims against the Released Defendant Parties and shall be substantially in the form

contained in Exhibit A-2 attached hereto.

       4.3     Upon the Effective Date, the Releasing Plaintiff Parties will be forever barred and

enjoined from commencing, instituting, prosecuting, or continuing to prosecute any action or other

proceeding in any court of law or equity, arbitration tribunal, or administrative forum, asserting the

Released Claims against any of the Released Defendant Parties.




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        4.4     Upon the Effective Date, each of the Released Defendant Parties shall be deemed to

have, and by operation of the Judgment shall have, fully, finally, and forever released, relinquished,

and discharged all Released Defendants’ Claims against Plaintiff, the Class and Plaintiff’s Counsel.

Claims to enforce the terms of this Stipulation are not released.

        5.      Administration and Calculation of Claims, Final Awards, and
                Supervision and Distribution of the Settlement Fund

        5.1     The Claims Administrator, subject to such supervision and direction of Class Counsel

and the Court as may be necessary or as circumstances may require, shall administer and calculate

the Claims submitted by Class Members and shall oversee distribution of the Net Settlement Fund to

Authorized Claimants. The Released Defendant Parties and Defendants’ Counsel shall have no

responsibility for or interest whatsoever in the administration of the Settlement or the actions or

decisions of the Claims Administrator, and shall have no liability whatsoever to the Releasing

Plaintiff Parties, including Plaintiff, any other Class Members, or Plaintiff’s Counsel, in connection

with such administration, including, but not limited to: (i) any act, omission, or determination by

Class Counsel, the Escrow Agent, and/or the Claims Administrator, or any of their respective

designees or agents, in connection with the administration of the Settlement or otherwise; (ii) the

management or investment of the Settlement Fund or the Net Settlement Fund, or the distribution of

the Net Settlement Fund; (iii) the Plan of Allocation; (iv) the determination, administration,

calculation, or payment of any Claims asserted against the Settlement Fund; (v) any losses suffered

by, or fluctuations in value of, the Settlement Fund; or (vi) the payment or withholding of any Taxes,

expenses, and/or costs incurred with the taxation of the Settlement Fund or the filing of any federal,

state, or local returns.

        5.2     The Settlement Fund shall be applied as follows:

                (a)        to pay all Notice and Administration Expenses;




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               (b)     to pay the Taxes and Tax Expenses;

               (c)     to pay attorneys’ fees and expenses of Plaintiff’s Counsel and to pay any

award to Plaintiff for its reasonable costs and expenses (including lost wages) pursuant to 15 U.S.C.

§78u-4(a)(4), if and to the extent allowed by the Court (the “Fee and Expense Award”); and

               (d)     after the Effective Date, to distribute the Net Settlement Fund to Authorized

Claimants as provided by this Stipulation, the Plan of Allocation, or the orders of the Court.

       5.3     After the Effective Date, and in accordance with the terms of this Stipulation, the Plan

of Allocation, or such further approval and further order(s) of the Court as may be necessary or as

circumstances may require, the Net Settlement Fund shall be distributed to Authorized Claimants,

subject to and in accordance with the following provisions of this Stipulation.

       5.4     Within one hundred-twenty (120) calendar days after the mailing of the Notice or

such other time as may be set by the Court, each Class Member shall be required to submit to the

Claims Administrator a completed Proof of Claim and Release, substantially in the form of Exhibit

A-2 attached hereto, signed under penalty of perjury and supported by such documents as are

specified in the Proof of Claim and Release.

       5.5     Except as otherwise ordered by the Court, all Class Members who fail to timely

submit a valid Proof of Claim and Release within such period, or such other period as may be

ordered by the Court, or otherwise allowed, shall be forever barred from receiving any payments

pursuant to this Stipulation and the Settlement set forth herein, but will, in all other respects, be

subject to and bound by the provisions of this Stipulation, the releases contained herein, and the

Judgment, and will be barred from bringing any action against the Released Defendant Parties

concerning the Released Claims. Notwithstanding the foregoing, Class Counsel shall have the

discretion (but not an obligation) to accept late-submitted Claims for processing by the Claims




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Administrator so long as the distribution of the Net Settlement Fund to Authorized Claimants is not

materially delayed thereby. No Person shall have any claim against Plaintiff, Plaintiff’s Counsel, the

Claims Administrator or any Class Member by reason of the exercise or non-exercise of such

discretion.

       5.6     Each Proof of Claim and Release shall be submitted to and reviewed by the Claims

Administrator, under the supervision of Class Counsel, who shall determine, in accordance with this

Stipulation and the approved Plan of Allocation, the extent, if any, to which each Claim shall be

allowed, subject to review by the Court pursuant to ¶5.8 below.

       5.7     Proof of Claim and Release forms that do not meet the submission requirements may

be rejected. Prior to rejecting a Proof of Claim and Release in whole or in part, the Claims

Administrator shall communicate with the claimant in writing to give the claimant the chance to

remedy any curable deficiencies in the Proof of Claim and Release submitted. The Claims

Administrator, under the supervision of Class Counsel, shall notify, in a timely fashion and in

writing, all claimants whose Claims the Claims Administrator proposes to reject in whole or in part

for curable deficiencies, setting forth the reasons therefor, and shall indicate in such notice that the

claimant whose Claim is to be rejected has the right to a review by the Court if the claimant so

desires and complies with the requirements of ¶5.8 below.

       5.8     If any claimant whose timely Claim has been rejected in whole or in part for curable

deficiency desires to contest such rejection, the claimant must, within twenty (20) calendar days after

the date of mailing of the notice required in ¶5.7 above, or a lesser period of time if the Claim was

untimely, serve upon the Claims Administrator a notice and statement of reasons indicating the

claimant’s grounds for contesting the rejection along with any supporting documentation, and




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requesting a review thereof by the Court. If a dispute concerning a Claim cannot be otherwise

resolved, Class Counsel shall thereafter present the claimant’s request for review to the Court.

        5.9     Each claimant who declines to be excluded from the Class shall be deemed to have

submitted to the jurisdiction of the Court with respect to the claimant’s Claim, including, but not

limited to, all releases provided for herein and in the Judgment, and the Claim will be subject to

investigation and discovery under the Federal Rules of Civil Procedure, provided that such

investigation and discovery shall be limited to the claimant’s status as a Class Member and the

validity and amount of the claimant’s Claim. In connection with processing the Proofs of Claim and

Release, no discovery shall be allowed on the merits of the Litigation or the Settlement. All

proceedings with respect to the administration, processing and determination of Claims and the

determination of all controversies relating thereto, including disputed questions of law and fact with

respect to the validity of Claims, shall be subject to the jurisdiction of the Court, but shall not, in any

event, delay or affect the finality of the Judgment. All Class Members, other claimants, and parties

to this Settlement expressly waive trial by jury (to the extent any such right may exist) and any right

of appeal or review with respect to such determinations.

        5.10    Following the Effective Date, the Net Settlement Fund shall be distributed to the

Authorized Claimants substantially in accordance with the Plan of Allocation set forth in the Notice

and approved by the Court. No distributions will be made to Authorized Claimants who would

otherwise receive a distribution of less than $10.00. If there is any balance remaining in the Net

Settlement Fund after a reasonable period of time after the date of the distribution of the Net

Settlement Fund, Class Counsel shall, if feasible, reallocate such balance among Authorized

Claimants who negotiated the checks sent in the initial distribution and who would receive a

minimum of $10.00. These redistributions shall be repeated until the balance remaining in the Net




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Settlement Fund is de minimis. Any de minimis balance that still remains in the Net Settlement Fund

after such reallocation(s) and payments, which is not feasible or economical to reallocate, shall be

donated to an appropriate non-sectarian, non-profit charitable organization(s) serving the public

interest selected by Class Counsel.

        5.11    The Released Defendant Parties shall have no responsibility for, interest in, or

liability whatsoever with respect to the distribution of the Net Settlement Fund, the Plan of

Allocation, the determination, administration, or calculation of Claims, the payment or withholding

of Taxes or Tax Expenses, or any losses incurred in connection therewith. No Person shall have any

claim of any kind against the Released Defendant Parties with respect to the matters set forth in

¶¶5.1-5.13 hereof; and the Releasing Plaintiff Parties release the Released Defendant Parties from

any and all liability and claims arising from or with respect to the administration, investment, or

distribution of the Settlement Fund.

        5.12    No Person shall have any claim against the Released Defendant Parties, Plaintiff,

Plaintiff’s Counsel or the Claims Administrator, or any other Person designated by Class Counsel

based on determinations or distributions made substantially in accordance with this Stipulation and

the Settlement contained herein, the Plan of Allocation, or further order(s) of the Court.

        5.13    It is understood and agreed by the Settling Parties that any proposed Plan of

Allocation of the Net Settlement Fund, including, but not limited to, any adjustments to an

Authorized Claimant’s Claim set forth therein, is not a part of this Stipulation and is to be considered

by the Court separately from the Court’s consideration of the fairness, reasonableness, and adequacy

of the Settlement set forth in this Stipulation, and any order or proceeding relating to the Plan of

Allocation shall not operate to terminate or cancel this Stipulation or affect the finality of the Court’s




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Judgment approving this Stipulation and the Settlement set forth herein, or any other orders entered

pursuant to the Stipulation.

       6.      Plaintiff’s Counsel’s Attorneys’ Fees and Expenses

       6.1     Class Counsel may submit an application or applications (the “Fee and Expense

Application”) on behalf of Plaintiff’s Counsel from the Settlement Fund for: (a) an award of

attorneys’ fees; plus (b) expenses or charges in connection with prosecuting the Litigation; plus (c)

any interest earned on such attorneys’ fees and expenses at the same rate and for the same periods as

earned by the Settlement Fund (until paid) as may be awarded by the Court. An application for fees

and expenses may include a request for reimbursement of Plaintiff’s reasonable costs and expenses

in connection with its representation of the Class pursuant to 15 U.S.C. §78u-4(a)(4). Class Counsel

reserves the right to make additional applications for fees and expenses incurred.

       6.2     The amount of attorneys’ fees and expenses awarded by the Court is within the sole

discretion of the Court. Any fees and expenses, as awarded by the Court, shall be paid to Class

Counsel from the Settlement Fund, as ordered, immediately after the Court executes the Judgment

and an order awarding such fees and expenses, notwithstanding the existence of any timely filed

objections thereto or to the Settlement, or potential for appeal therefrom, or collateral attack on the

Settlement or any part thereof. Class Counsel may thereafter allocate the attorneys’ fees among

Plaintiff’s Counsel in a manner in which it in good faith believes reflects the contributions of such

counsel to the initiation, prosecution, and resolution of the Litigation.

       6.3     In the event that the Effective Date does not occur, or the Judgment or the order

making the Fee and Expense Award is reversed or modified, or this Stipulation is canceled or

terminated for any other reason, and such reversal, modification, cancellation or termination

becomes Final and not subject to review, and in the event that the Fee and Expense Award has been

paid to any extent, then Class Counsel, including its partners and/or shareholders, and such other



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Plaintiff’s Counsel, including their law firms, partners, and/or shareholders, and Plaintiff who have

received any portion of the Fee and Expense Award shall, within ten (10) business days from

receiving notice from Defendants’ Counsel or from a court of appropriate jurisdiction, refund to the

Settlement Fund all such fees and expenses previously paid to them from the Settlement Fund plus

interest thereon at the same rate as earned by the Settlement Fund in an amount consistent with such

reversal, modification, cancellation or termination. Any refunds required pursuant to this ¶6.3 shall

be the several obligation of Plaintiff’s Counsel, including their law firms, partners, and/or

shareholders, and Plaintiff if it received fees or expenses to make appropriate refunds or repayments

to the Settlement Fund. Each such Plaintiff’s Counsel or Plaintiff receiving fees and expenses, as a

condition of receiving such fees and expenses, on behalf of itself and each partner and/or shareholder

of it, agrees that (a) such Person and its partners, shareholders, and/or members are subject to the

jurisdiction of the Court for the purpose of enforcing the provisions of this paragraph, and (b) are

severally liable for the full amount of all fees, expenses, and costs paid from the Settlement Fund.

Without limitation, Plaintiff’s Counsel and Plaintiff and their partners, shareholders, and/or members

agree that the Court may, upon application of Defendants and notice to Plaintiff’s Counsel,

summarily issue orders, including, but not limited to, judgments and attachment orders, and may

make appropriate findings of or sanctions for contempt, should such law firms or their partners,

shareholders, or members fail to timely repay fees and expenses pursuant to this paragraph.

        6.4     The procedure for and the allowance or disallowance by the Court of any applications

by any Plaintiff’s Counsel for attorneys’ fees and expenses to be paid out of the Settlement Fund is

not part of the Settlement set forth in this Stipulation, and is to be considered by the Court separately

from the Court’s consideration of the fairness, reasonableness, and adequacy of the Settlement set

forth in this Stipulation, and shall have no effect on the terms of the Stipulation or on the validity or




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enforceability of this Settlement. The approval of the Settlement, and it becoming Final, shall not be

contingent on the award of attorneys’ fees and expenses, any award to Plaintiff, Class Counsel, or

Plaintiff’s Counsel, nor any appeals from such awards. Any order or proceeding relating to the Fee

and Expense Application, or any appeal from any order relating thereto or reversal or modification

thereof, shall not operate to terminate or cancel this Stipulation, or affect or delay the finality of the

Judgment approving this Stipulation and the Settlement of the Litigation set forth therein, or any

other orders entered pursuant to the Stipulation of Settlement.

        6.5     Any fees and/or expenses awarded by the Court shall be paid solely from the

Settlement Fund. With the sole exception of Defendants’ obligation to pay or cause the Settlement

Amount to be paid into the Escrow Account as provided for in ¶2.2, the Released Defendant Parties

shall have no responsibility for, and no liability whatsoever with respect to, any payment of

attorneys’ fees and/or expenses (including Taxes) to Plaintiff’s Counsel, or any other counsel or

Person who receives payment from the Settlement Fund.

        6.6     The Released Defendant Parties shall have no responsibility for, and no liability

whatsoever with respect to, the allocation among Plaintiff’s Counsel and/or any other Person who

may assert some claim thereto, of any Fee and Expense Award that the Court may make in the

Litigation.

        6.7     The Released Defendant Parties shall have no responsibility for, and no liability

whatsoever with respect to, any attorneys’ fees, costs, or expenses (including Taxes) incurred by or

on behalf of any Class Member, whether or not paid from the Escrow Account.

        7.      Conditions of Settlement, Effect of Disapproval, Cancellation, or
                Termination

        7.1     The Effective Date of the Settlement shall be conditioned on the occurrence of all of

the following events:




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               (a)     the Court has entered the Preliminary Approval Order directing notice to the

Class, as required by ¶3.1 hereof;

               (b)     the Settlement Amount has been deposited into the Escrow Account;

               (c)     Defendants have not exercised their option to terminate the Stipulation

pursuant to ¶7.3 hereof;

               (d)     the Court has entered the Judgment, or a judgment substantially in the form of

Exhibit B attached hereto; and

               (e)     the Judgment has become Final, as defined in ¶1.12 hereof.

       7.2     Upon the Effective Date, any and all remaining interest or right of the Defendants in

or to the Settlement Fund, if any, shall be absolutely and forever extinguished. The Released

Defendant Parties shall not have any liability, obligation, or responsibility for the payment of

Claims, Taxes, legal fees, or any other expenses payable from the Settlement Fund. If the conditions

specified in ¶7.1 hereof are not met, then the Settlement shall be canceled and terminated subject to

¶¶7.4-7.6 hereof unless the Settling Parties mutually agree in writing to proceed with the Settlement.

For avoidance of doubt, no order of the Court or modification or reversal on appeal of any order of

the Court concerning the Plan of Allocation or the amount of any attorneys’ fees, expenses, and

interest awarded by the Court to Class Counsel or expenses to Plaintiff shall operate to terminate or

cancel this Stipulation or constitute grounds for cancellation or termination of the Stipulation.

       7.3     Defendants shall have the right to terminate the Settlement and render it null and void

in the event that Persons who would otherwise be Members of the Class who collectively incurred

more than a certain amount of Claimed Losses, as calculated by the Plan of Allocation, exclude

themselves from the Class, as set forth in a separate agreement (the “Supplemental Agreement”)

executed between Plaintiff and Defendants, by and through their counsel. The Settling Parties agree




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to maintain the confidentiality of the Supplemental Agreement, which is being executed concurrently

herewith. The Supplemental Agreement shall not be filed with the Court unless and until the Court

requires the Settling Parties to file the Supplemental Agreement or disclose its terms. If submission

of the Supplemental Agreement is ordered by the Court, the Settling Parties will seek to have the

Supplemental Agreement submitted to the Court in camera or filed under seal, but such disclosure

shall be carried out to the fullest extent possible in accordance with the practices of the Court so as to

preserve the confidentiality of the Supplemental Agreement, particularly the threshold aggregate

Claimed Losses. Notwithstanding the foregoing, Defendants may include a redacted copy of the

Supplemental Agreement with any notice provided pursuant to CAFA.

        7.4     Unless otherwise ordered by the Court, in the event this Stipulation is not approved or

this Stipulation or the Settlement is terminated, or canceled, or the Effective Date otherwise fails to

occur for any reason, including, without limitation, in the event the Judgment is reversed or vacated

or altered following any appeal taken therefrom, or is successfully collaterally attacked, within ten

(10) business days after written notification of such event is sent by Defendants’ Counsel or Class

Counsel to the Escrow Agent, the Settlement Fund (including accrued interest), less Taxes, Tax

Expenses and Notice and Administration Expenses which have either been disbursed pursuant to

¶¶2.9 and/or 2.11 hereof, or are chargeable to the Settlement Fund pursuant to ¶¶2.9 and/or 2.11

hereof, shall be refunded by the Escrow Agent to the Persons who contributed to the Settlement

Fund in proportion to their respective contribution. Such refunds shall be pursuant to written

instructions from Defendants’ Counsel. The Escrow Agent or its designee shall apply for any tax

refund owed on the Settlement Amount and pay the proceeds, after deduction of any fees or

expenses incurred in connection with such application(s) for refund to the same Persons in the same




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manner as the Settlement Fund described in this ¶7.4. Such payments shall be pursuant to written

instructions from Defendants’ Counsel.

        7.5     In the event that this Stipulation is not approved or this Stipulation or the Settlement

is terminated, canceled, or the Effective Date otherwise fails to occur for any reason, the Settling

Parties shall be restored to their respective positions in the Litigation as of April 16, 2021. In such

event, the terms and provisions of the Stipulation, with the exception of ¶¶1.1-1.33, 2.7-2.9, 2.11-

2.13, 6.3, 7.4, 8.1, and 9.4 hereof, shall have no further force and effect with respect to the Settling

Parties and shall not be used in this Litigation or in any other proceeding for any purpose, and any

judgment or order entered by the Court in accordance with the terms of this Stipulation shall be

treated as vacated, nunc pro tunc. No order of the Court or modification or reversal on appeal of any

order of the Court concerning the Plan of Allocation or any Fee and Expense Award shall operate to

terminate or cancel this Stipulation or constitute grounds for cancellation or termination of this

Stipulation.

        7.6     If the Effective Date does not occur, or if this Stipulation is terminated pursuant to its

terms, neither Plaintiff nor Plaintiff’s Counsel shall have any obligation to repay any amounts

disbursed pursuant to ¶¶2.9 or 2.11. In addition, any amounts already incurred pursuant to ¶¶2.9 or

2.11 hereof at the time of such termination or cancellation but which have not been paid, shall be

paid by the Escrow Agent in accordance with the terms of this Stipulation prior to the balance being

refunded in accordance with ¶¶2.13 and 7.4 hereof.

        8.      No Admission of Wrongdoing

        8.1     Neither the Settlement, this Stipulation (whether or not consummated), including the

Exhibits hereto and the Plan of Allocation contained therein (or any other plan of allocation that may

be approved by the Court), the negotiations leading to the execution of this Stipulation and the

Settlement, nor any proceedings, communications, drafts, documents or agreements taken pursuant



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to or in connection with this Stipulation, and/or approval of the Settlement (including any arguments

proffered in connection therewith):

                 (a)    shall be offered or received against or to the prejudice of any Defendant as

evidence of or construed as or deemed to be evidence of any presumption, concession, or admission

by any Defendant of the truth of any allegations by Plaintiff or any Member of the Class or the

validity of any claim that has been or could have been asserted in the Litigation, or the deficiency of

any defense that has been or could have been asserted in the Litigation or in any other litigation,

including, but not limited to, litigation of the Released Claims, or of any liability, negligence, fault,

or wrongdoing of any kind of any of the Defendants or in any way referred to for any other reason as

against any of the Defendants, in any civil, criminal, or administrative action or proceeding, other

than such proceedings as may be necessary to effectuate the provisions of this Stipulation;

                 (b)    shall be offered or received against or to the prejudice of any Defendant as

evidence of a presumption, concession, or admission of any fault, misrepresentation, scheme, or

omission with respect to any statement or written document approved or made by any Defendant, or

against Plaintiff or any Member of the Class as evidence of any infirmity in the claims of Plaintiff

and the Class;

                 (c)    shall be offered or received against or to the prejudice of any Defendant as

evidence of a presumption, concession, or admission of any liability, negligence, fault, or

wrongdoing, or in any way referred to for any other reason as against any of the parties to this

Stipulation, in any other civil, criminal, or administrative action or proceeding; provided, however,

that if this Stipulation is approved by the Court, Defendants and their Related Parties may refer to it

to effectuate the release granted them hereunder; or




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               (d)     shall be construed against Defendants, Plaintiff, or the Class as evidence of a

presumption, concession or admission that the consideration to be given hereunder represents the

amount which could be or would have been recovered after trial or in any proceeding other than this

Settlement.

       9.      Miscellaneous Provisions

       9.1     The Settling Parties: (a) acknowledge that it is their intent to consummate this

Settlement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and

implement all terms and conditions of this Stipulation and to exercise their best efforts to accomplish

the foregoing terms and conditions of this Stipulation.

       9.2     The Settling Parties intend this Settlement to be a final and complete resolution of all

disputes between them with respect to the Litigation. The Settlement compromises all claims that

were or are contested and shall not be deemed an admission by any Settling Party as to the merits of

any claim or defense. The Judgment will contain a finding that, during the course of the Litigation,

the Settling Parties and their respective counsel at all times complied with the requirements of

Federal Rule of Civil Procedure 11. The Settling Parties agree that the Settlement Amount and the

other terms of the Settlement were negotiated in good faith by the Settling Parties, and reflect a

settlement that was reached voluntarily after consultation with competent legal counsel.

       9.3     Defendants and/or the Released Defendant Parties may file this Stipulation and/or the

Judgment from this action in any other action that may be brought against them in order to support a

defense or counterclaim based on principles of res judicata, collateral estoppel, release, statute of

limitations, statute of repose, good faith settlement, judgment bar or reduction, or any theory of

claim preclusion or issue preclusion or similar defense or counterclaim, or to effectuate any liability

protection under any applicable insurance policy. The Settling Parties may file this Stipulation

and/or the Judgment in any action that may be brought to enforce the terms of this Stipulation and/or



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the Judgment. All Settling Parties submit to the jurisdiction of the Court for purposes of

implementing and enforcing the Settlement.

       9.4     All agreements made and orders entered during the course of the Litigation relating to

the confidentiality of information shall survive this Stipulation.

       9.5     All of the Exhibits to this Stipulation and the Supplemental Agreement are material

and integral parts hereof and are fully incorporated herein by this reference.

       9.6     This Stipulation, along with its Exhibits and the Supplemental Agreement, may be

amended or modified only by a written instrument signed by or on behalf of all Settling Parties or

their respective successors-in-interest.

       9.7     This Stipulation and the Exhibits attached hereto together with the Supplemental

Agreement constitute the entire agreement among the Settling Parties hereto as to the subject matter

hereof and supersede any prior or contemporaneous written or oral agreements or understandings

between the Settling Parties. No representations, warranties, or inducements have been made to any

party concerning this Stipulation, its Exhibits, or the Supplemental Agreement, other than the

representations, warranties, and covenants contained and memorialized in such documents.

       9.8     Except as otherwise provided herein, each party shall bear his, her, or its own fees

and costs.

       9.9     Class Counsel, on behalf of the Class, is expressly authorized by Plaintiff to take all

appropriate action required or permitted to be taken by the Class pursuant to this Stipulation to

effectuate its terms and also is expressly authorized to enter into any modifications or amendments to

this Stipulation on behalf of the Class which it deems appropriate.

       9.10    Each counsel or other Person executing this Stipulation, its Exhibits, the

Supplemental Agreement, or any related Settlement document, on behalf of any party hereto hereby




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warrants that such Person has the full authority to do so, and that they have the authority to take

appropriate action required or permitted to be taken pursuant to the Stipulation to effectuate its

terms, without requiring additional consent, approval, or authorization of any other Person, board,

entity, tribunal, or other regulatory or governmental authority.

        9.11    This Stipulation may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete set of

executed counterparts shall be filed with the Court. Signatures sent by facsimile or pdf’d via e-mail

shall be deemed originals.

        9.12    All notices, requests, demands, claims, and other communications hereunder shall be

in writing and shall be deemed duly given (i) when delivered personally to the recipient, (ii) one (1)

business day after being sent to the recipient by reputable overnight courier service (charges

prepaid), or (iii) seven (7) business days after being mailed to the recipient by certified or registered

mail, return receipt requested and postage prepaid, and addressed to the intended recipient as set

forth below:

        If to Plaintiff or to Class Counsel:

         ROBBINS GELLER RUDMAN
           & DOWD LLP
         ELLEN GUSIKOFF STEWART
         655 West Broadway, Suite 1900
         San Diego, CA 92101

        If to the Defendants or Defendants’ Counsel:
         LATHAM & WATKINS LLP
         Attn: Morgan Whitworth
         505 Montgomery Street, Suite 2000
         San Francisco, CA 94111

        9.13    This Stipulation shall be binding upon, and inure to the benefit of, the successors and

assigns of the Settling Parties.




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        9.14    The Court shall retain jurisdiction with respect to implementation and enforcement of

the terms of this Stipulation, and all Settling Parties submit to the jurisdiction of the Court for

purposes of implementing and enforcing the Settlement embodied in this Stipulation and matters

related to the Settlement.

        9.15    The waiver by one Settling Party of any breach of this Stipulation by any other party

shall not be deemed a waiver by any other Settling Party or a waiver of any other prior or subsequent

breach of this Stipulation.

        9.16    Pending approval of the Court of this Stipulation and its Exhibits, all proceedings in

this Litigation shall be stayed and all Members of the Class shall be barred and enjoined from

prosecuting any of the Released Claims against any of the Released Defendant Parties.

        9.17    This Stipulation, its Exhibits and the Supplemental Agreement shall be considered to

have been negotiated, executed and delivered, and to be wholly performed, in the State of Tennessee

and the rights and obligations of the parties to the Stipulation shall be construed and enforced in

accordance with, and governed by, the internal, substantive laws of the State of Tennessee without

giving effect to its choice-of-law principles, except to the extent that federal law requires that federal

law govern.

        9.18    The headings herein are used for the purpose of convenience only and are not meant

to have legal effect.

        9.19    This Stipulation shall not be construed more strictly against one party than another

merely by virtue of the fact that it, or any part of it, may have been prepared by counsel for one of

the Settling Parties, it being recognized that it is the result of arm’s-length negotiations between the

Settling Parties and the Settling Parties have contributed substantially and materially to the

preparation of this Stipulation.




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       9.20    Nothing in the Stipulation, or the negotiations relating thereto, is intended to or shall

be deemed to constitute a waiver of any applicable privilege or immunity, including, without

limitation, attorney-client privilege, joint defense privilege, or work product protection.

       9.21    Unless otherwise provided, the Settling Parties may agree to reasonable extensions of

time to carry out any of the provisions of this Stipulation without further order of the Court.

       IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to be executed, by

their duly authorized attorneys, dated June 24, 2021.

                                                 ROBBINS GELLER RUDMAN & DOWD LLP
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                                                 CHRISTOPHER H. LYONS, #034853


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                                  CERTIFICATE OF SERVICE
       I hereby certify under penalty of perjury that on June 24, 2021, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ Christopher M. Wood
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Mailing Information for a Case 3:16-cv-02267 Grae v. Corrections Corporation of America et al
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Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use your mouse
to select and copy this list into your word processing program in order to create notices or labels for these recipients.
  (No manual recipients)




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